      Case 1:17-cv-03686-ELR Document 19-1 Filed 11/08/17 Page 1 of 5




                      THE MUNICIPAL COURT OF ATLANTA
     Ryan Shepard                                                          Honorable Calvin S. Graves
     Court Administrator                                                                 Chief Judge




                                    August 31, 2017


BENJAMIN 0 HARDEE
964B RALPH DAVID ABERNATHY BLVD SW
ATLANTA, GA 30310

Re: Case#: 17TR091359
Citation(s) #: E02610884


Dear Sir I Madam

This letter serves as notification that your court case has been rescheduled for
September 29, 2017 at 8:00 am. This is the only notice that you will receive.

Failure to attend could result in the suspension of your driving privileges.

If you have any questions or concerns, you may reach the court at 404-658-6940.




                                              Respectfully,

                                              SDLEE




                         THE LENWOOD A. JACKSON SR. JUSTICE CENTER
                     150 Garnett St., S.W. Atlanta, GA, 30303-3612 404. 658. 6940
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                                                 GWINNETT SUPERIOR COURT
                                                 TRADE NAME REGISTRATION

 PERSONALLY APPEARED TIIE UNDERSIGNED WHO ON OATH DEPOSES AND SAYS THAT:

 *_.El.B.ev~.B.en..      ___________________________________________________________ ~-------
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 *.c/o_964BaJphlLAb.eroatb~Jllit!l.AtlantaGeorgia.3Q3·10__________________ ~- - ---------
 caddress of proprietor or parent corporation)           ·         .                                                  ~     .

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 IS.'ARE D0ING BUSINESS ING~ COUN1Y, GEORGIA UNDER nn: NAME CF:
                                         <.tM
     TRADE NAME: • BENJAMIN O'NEAL HARDEEE I BEN EL BEY                          ESTATE

     ADDRESS:• 6737 Gunstock Lane, Tucker Georgia 30084

                                        (tradename address in G
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 and that the (nature of the business) to be carried on at such address is

 * The all capital letter name BENJAMIN O'NEIL HARDEE aka BEN EL BEY is an Fictitious name " in which only El Bey,
 Ben whom we call pursuant to OCGA 9-11- 17a "The Real Party at Interest" now owns an :.:lbsolute commercial and
 intellectual proprietary interest in the state of Georgia.




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                                                                  :. . APR 1 2 2016

                                                                  JAMES N. HATTEN, Clerk
                                                                  By:    ~Cieri<
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                 PROBATE COlJRT OF FULl9N COUNTY
                     WILL FILED FOR$AFEKEEPING


                                 NO       00034




                     Benj amin O'neil Hardee f / k/a
                 (Please name plainly).   Ben El Bey




               964 Ralph David Abernathy Blvd Ste           Atl    GA
                  (Address)   30310




                  EXECUTOR OR EXECUTRIX:



                     Ben El Bey




                    964 Ralph David Ab ernathy Ste 1
                  (Address) Atlanta, Georgia 303 10

                  Filed in Office _ _Ma_r_ch_2_4_,_zo_l_4_ _ _ _ __



                       Sheena C. Johnson
                  Clerk, Probate Court

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